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           EXHIB IT "1"
                         Complaint




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                         400 S. 4th Street, Suite 600

                             Las Vegas, NV 89101
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                                                                                                                   ,
                    COMP                                                                     ~~.~.
                2   MICHAELA E. TRAMEL, ESQ.
                                                                                                CLERK OF THE COURT
                    Nevada Bar No. 9466
                3   RICHARD HARRIS LAW FIRM
                    80 I South Fourth St.
                5   Las Vegas, NV 89101
               6    Tel.: (702) 444-4444
                    Fax: (702)444-4455
                7   Email: Michaela@richardhanislaw.com

               8    Attorneysfor Plaintiff
               9
                                                           DISTRICT COURT
               10
                                                      CLARK COUNTY, NEVADA
              Il

t/')   :i      12

       ""-
                     WAYNE YOSHIMOTO,


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       CI!

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                                                                             CASENO·A-        16- 746994-
       ~                             Plaintiffs,
       «       14
                     vs.                                                     DEPT. NO.:       XXVI I I

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                     SAFECO INSURANCE COMPANY OF                             COMPLAINT
               16    ILLINOIS; DOES I through 20; ROE BUSINESS
U                    ENTITIES 1 through 20, inclusive jointly and
lia           17
                     severally,
~             18
                                    Defendants.
              19

              20

              21            COME NOW, Plaintiff WAYNE YOSHIMOTO by and through his attorneys of record
              ~2
                    MICHAELA E. TRAMEL, ESQ. of the RICHARD HARRIS LAW FIRM, and complains and
              23
                    alleges as follows:
              24
                                                    PARTIES AND JURISDICTION
              25

              26
                           ].   That at all times relevant herein, Plaintiff WAYNE YOSHIMOTO (hereinafter

              27                referred to as "Plainti fr'), is and was a resident of the County of Clark, State of
              28                Nevada.
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                      2.   That at all times relevant herein, Defendant SAFECO INSURANCE COMPANY
               2
                           OF ILLINOIS, was, and is, a Foreign Corporation, providing insurance products and
               3
                           services, and conducting business in Clark County, Nevada.
               5

               6
                      3.   The identities of Defendant DOES I through 20, and ROE BUSINESS ENTITIES 1

               7           through 20, are unknown at this time and are individuals, corporations, associations,
               8           partnerships, subsidiaries, holding companies, owners, predecessor or successor
               9
                           entities, joint venturers, parent corporations or related business entities of
               10
                           Defendants, inclusive, who were acting on behalf of or in concert with, or at the
               II

 V'l   :::t    12          direction of Defendants and are responsible for the injurious activities of the other



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       ClI!

               13          Defendants .
       ""
       ~       14
       4(             4.   Plaintiffs allege that each named and Doe and Roe Defendant negligently, willfully,
 ~
       ..J
               15
                           intentionally, recklessly, vicariously, or otherwise, caused, directed, allowed or set in
 ~
 U
               16
                           motion the injurious events set forth herein.
 ~             17

~(             18     5.   Each named and Doe and Roe Defendant is legally responsible for the events and

               19          happenings stated in this Complaint, and thus proximately caused injury and
               20
                           damages to Plaintiffs.
               21
                      6.   Plaintiffs request leave of the Court to amend this Complaint to specify the Doe and
               22
                           Roe Defendants when their identities become known.
               23

               24              ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

               25     7.   On or about September 12, 2013, Plaintiff was operating a vehicle that was involved
               26
                           in a motor vehicle accident in Clark County, Nevada.
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                                      8.     On or about September 12,2013, and at all times relevant hereto, Gang Sun and Tao
                                2
                                             Sun, were the owners and/or operators of the vehicle that collided with the vehicle
                                3
                                             operated by Plaintiff.
                                s
                                6
                                      9.     As a direct and proximate result ofGang Sun and Tao Sun's negligence, and the

                                7            resulting accident, as herein alleged, Plaintiff has been caused to suffer bodily injury,
                                8
                                             disability, medical treatment, as loss of enjoyment of life, great pain and suffering of
                                9
                                             mind and body, some or all of which may be permanent and/or experienced in the
                               10
                                             future, all to Plaintiff's general damage in an amount to be proven at trial.
                               11

                  fJ)   ::?:   12      10.   As a proximate result of Gang Sun and Tao Sun's negligence, Plaintiff was required



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                        I.&.   13            to, and did employ, physicians and medical providers for examinations, treatment,
                        ~      14
                        «                    consultations, and care of bodily injuries, and did incur medical and incidental
                  ~
                        ..,l
                               15
                                             expenses, in an amount in excess of $ 10,000.00.
                  ~
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                               16
                                       11.   As a further and proximate result of Gang Sun and Tao Sun's negligence, Plaintiff
                  .~           17

                 ~,            18            has incurred past medical expenses, and Plaintiffwill incur future medical expenses

                               19            in an amount to be proven at trial.
                               20
                                       12.   An automobile insurance policy was in force and effect for the Plaintiff and the
                               21
                                             vehicle he owned and operated.
                               22

                               23
                                       13. Said insurance policy coverage was issued by Defendant SAFECO INSURANCE

                               24            COMPANY OF ILLlNO IS and contained a provision for underinsured motorist
                                                                                                                                         ..
                               25            coverage (VIM).
                               26
                                       14.   Defendant SAFECO INSURANCE COMPANY OF ILLINOIS refused to properly
                               27
                                             and fairly compensate Plaintiff under the terms of the contract, and specifically the
                               28

                                             UIM portion of the insurance policy.
                                                                                   3




_   ..   _ ...   _._----------------------------
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                     15.   As a further and proximate result of Gang Sun and Tao Sun's negligence, Plaintiff
              2
                           has incurred attorneys' fees and costs. Plaintiff will incur future attorneys' fees and
              3
                           costs that are presently undetermined.
              5

              6
                                                 FIRST CAUSE OF ACTION
                                                    (Breach of Contract)
              7
                    16.    Plaintiff repeats and realleges each of the allegations contained in the preceeding and
              8

              9
                           subsequent paragraphs of this Complaint as fully set forth herein.

              10    17.    An automobile insurance policy was in force and effect for the Plaintiff and the
              II
                           vehicle he owned.
 tJ')   :E    12

        -           18.    That under the terms of the policy, Plaintiff was "insured" under the policy.


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        u.    13
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                    ]9.    That said insurance policy coverage was issued through Defendant SAFECO
              14
        «
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        ..J
              15           INSURANCE COMPANY OF ILLINOIS.

 ~
 U
              16    20.    That said policy includes a provision for underinsured motorist (UIM) coverage.

&!            17
                    21.    That a UIM claim is one of a contractual nature.
~(            18
                    22.    That Plaintiff cannot recover the full amount of damages against Gang Sun and Tao
              19
                           Sun as they were underinsured motorists.
              20

              21    23.    That Plaintiff suffered damages as the result of the collision with Gang Sun and Tao

              22           Sun in excess of $10,000.00 and said damages include past and future medical
              23
                           expenses, general damages for past and future pain and suffering, past and future
              24
                           loss of earnings, and other damages.
              25

              26
                    24.    That Defendant SAFECO INSURANCE COMPANY OF ILLINOIS breached their

              27           contract to fully compensate Plaintiff for damages under the terms of the uninsured
              28           motorist policy.


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                  25.   That said breach by Defendant SAFECO INSURANCE COMPANY OF ILLINOIS
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                        has caused Plaintiff damages in excess of $1 0,000.00.
             3
                  26.   Plaintiff brings this cause of action against Defendant SAFECO INSURANCE
             5

             6
                        COMPANY OF ILLINOIS to recover damages under the underinsured motorist

             7          policy for personal injuries and other damages in an amount in excess of $] 0,000.00.

             8                              SECOND CAUSE OF ACTION
             9
                                     (Violation of the Unfair Claims Practices Act)

            10    27.   Plaintiff repeats and realleges each of the allegations contained in the preceeding and
            11
                        subsequent paragraphs of this Complaint as set forth herein.
 Vl   ~     12
                  28.   That Defendant SAFECO INSURANCE COMPANY OF ILLINOIS's actions were
      ...
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      0«

      II.   13
      ~                 in violation of provisions of the Unfair Claims Practices Act (NRS 686A.31 0 et
      4(
            14

 ~    -J    15          esq.), violation of which was done with Defendant SAFECO INSURANCE

~U
            16          COMPANY OF ILLINOIS's actrialandlor implied knowledge.

&1          17
                  29.   That pursuant to NRS 686A3]O(2), Defendant SAFECO INSURANCE COMPANY
~t          18
                        OF ILLINOIS is liable for any damages sustained by Plaintiff as a result of its
            19
                        violation of the unfair claims practices. including damages for benefits denied under
            20

            21          the insurance policy, consequential damages, emotional distress, and attorneys' fees.

            22                               THIRD CAUSE OF ACTION
                                         (Breach of the Covenant of Good Faith
            23
                                              and Fair DealinglBad Faith)
            24
                  30.   Plaintiff repeats and realleges each of the allegations contained in the preceeding and
            25
                        subsequent paragraphs of the Compiaintas fully set forth herein.
            26

            27

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                                          ..

      31.      That Defendant SAFECO INSURANCE COMPANY OF ILLINOIS failed to deal
2
               fairly and in good faith with Plaintiff by denying, andlor delaying payment of,
3
               benefits due under the insurance policy without proper cause.
5

6
      32.      That as a result of the breach of the implied covenant of good faith and fair dealing,

7              Plaintiff is entitled to damages for denied benefits, consequential damages,
8              attorneys' fees and emotional distress, incurred as a result of Defendant SAFECO
 9
               INSURANCE COMPANY OF ILLINOIS's bad faith.
JO
                                       PRAYER FOR RELIEF
11

12          Wherefore, Plaintiff prays for relief and judgment against Defendants as follows:

13    1.       Expectation damages for denied policy benefits in excess of$10,OOO.00;
14
      2.       Consequential damages; including attorney's fees;
15
      3.       Punitive damages;
16
      4.       Costs of suit; and
17

18    5.       For such other and further relief as the Court may deem appropriate.

19          DATED this 21 st day of November, 2016.
20
                                                 RICHARD HARRIS LAW FIRM
21
                                                 /s/ Michaela E. Tramel
22
                                                  MICHAELA E. TRAMEL, ESQ.
23
                                                  Nevada Bar No. 9466
24                                                801 S.Fourth Street
                                                  Las Vegas, NV 89101
25                                                A ttorneys for PlaintiiJ'
26

27

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